Case 2:05-cr-20047-.]DB Document 25 Filed 06/13/05 Page 1 of 2 Page|D 22

IN THE UNITED sTATEs DISTRICT coURT ‘~~P-UC
FoR THE wEsTERN DIsTRIcT oF TENNESSEEJUH,o
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CJ Ij\.» F,{£`_'?VTFH;S
Plaintiff, *
v. * cR. No. 05-20047-5
cHARLEs FRANKLIN GRUBB, *
Defendant. *

 

ORDER GRANTING THE DEFENDANT PERMISSION TO ACCEPT EMPLOYMENT IN
NEWTON,IOWA

 

After having considered the defendant's Motion To Accept
Employment In the Southern District of lowa, the Response of the
United States, the Reply of the Defendant and having reviewed the
pretrial services report of the defendant and consulted the local
pretrial services Officer, the Court finds that the Motion should
be granted to permit the defendant to accept employment in
Newton, lowa in the Southern Distriot of lowa.

The defendant is to continue supervision as established by
Pretrial Services.

lt is so Ordered, Adjudged and D creed this JQ§L_ day of

June 2005.

 

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J. ANI L BREEN
Un ted tates District Court Judge

D"ISIC COURT - WESRNTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CR-20047 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

